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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       CR. No. 2:23-cr-20191-MSN
                                              )
EMMITT MARTIN, III                            )

       JOINT POSITION ON SENTENCING HEARING FOR EMMITT MARTIN

       Emmitt Martin, III, and the United States of America, through counsel, jointly provide

notice to this Court of their position that analysis of the proper cross-reference in calculating the

advisory sentencing guidelines as to Mr. Martin obliges consideration of facts separate from his

co-defendants. While other defendants have raised acquitted conduct as a basis for challenging the

cross-reference to second-degree murder, Mr. Martin has relied upon his well-documented mental

health issues, providing expert testimony. Mr. Martin is differently situated from his codefendants,

and a separate consideration on the proper cross-reference under the advisory sentencing

guidelines is necessary to promote the interests of justice and ensure the appropriate consideration

of the distinct arguments raised. It is Mr. Martin’s and the government’s understanding, from the

discussion before the Court on January 17, 2025, (Minute Entry, Doc. 749), that the cross-reference

and other sentencing issues as to Mr. Martin are not part of the hearing on the acquitted conduct

and cross-reference issues for co-defendants presently scheduled for February 20, 2025. (Setting

Letter re Acquitted Conduct/ Cross-Referencing (Bifurcation), Doc. 750, PageID 15110).
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     Respectfully submitted this 19th day of February, 2025.

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                                  CERTIFICATE OF SERVICE

         I certify that on February 19, 2025, a copy of the foregoing was filed electronically. Notice
of this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may
access this filing through the Court’s electronic filing system.

                                             s/Stephen Ross Johnson
